

Per Curiam.

The circumstances herein show a retaking of the television set by virtue of the conditional sales contract, making operative the provisions of the Personal Property Law, and not an acquisition by reason of a new agreement superseding such sales contract. The retaining of the set since August, 1958, without exercising the privilege of resale releases *432the purchaser from further liability under the sales contract (Eager, Chattel Mortgages and Conditional Sales [Perm, ed.], § 415, p. 544; see, also, Interstate Ice &amp; Power Corp. v. United States Fire Ins. Co., 243 N. Y. 95, 99).
The judgment should be reversed, with $30 costs, and judgment directed for the defendant, with costs.
